                                                                                                                                          PERlSUSC             3170

                                  DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

ev:      I     txroRuertoru                 !    INDICTMENT                             CASE NO

ilatter Sealed:        !      Luvenite E             other than Juvenile                    USA vs
E    Pre-lndictmenl Plea         !      Superseding E           DefendantAdded                          RODNEY VICKNAIR
                                      E tnaiar"nt D             Charges/Co,rnts Added
                                                                                        Defendant:                                   SE                               .5
                                      Ll lnlormalion
Name of District Courl, and/or Judge/l\4aqistrate Location (C'ty)                       Address:        St. Amant, LA

uNtTED 5TATES DtSTRtcr                    couRT       EASTERN
DISTRICT OF LOUtS|ANA                                  Divisional Otlic€

                                           Laura Orth
Name and Office of Person
Furnishing lnformation on                   Eu.s.   my      Eo,h"r u s. Ag"n"y
                                                                                                 lnterpreterRequired Dialect
THIS FORM                                   phone   no (504) 680-3041
Name of Assl.
U.S.     Attorney          Tracey N. Knight
(if ass'gned)                                                                            Birth
                                                                                                       1966
                                                                                                                                 @     Male         E      Rtien

                                      PROCEEDING
                                                                                         Date                                    D     Female       (if applicable)

 Name of Complainant Agency, or Person (& Title, if any)
                                                                                                                          xxx_xx- 5257
 FBI                                                                                      Social Security Number

             person is awaiting trial in another Federal or State Court
             (give name of court)                                                                                       DEFENDANT


                                                                                        lssue            Warrant            Summons
    tr       this person/proceeding transferred from anolher districl
             per (circle one) FRCrP 20, 21 ot 40. Sho\fl Oistrict
                                                                                        Location Status:
                                                                                                                   or Date Transferred to FederalCustodv

             this is a reproseculion of charges
             previously dismissed which were                                              tr Currently in Federal Custody
             dismissed on motion of:
                                                                                                 Currently in State Custody
             E   u.s   a,tv   E      o"t"n""
                                                                                                   E    writ Required
    _l                                                               SHOW
                                                                   DOCKET NO
          thrs proseculion relates to a
          pending case involving lhis same
                                                                                          E]     Currently on bond
          defendant. (Notice of Related
          Case must slill be liled with lhe
                                                                                          tr      Fugitive

          Clerk.)
          prior proceedings or appearance(s)
                                                                   MAG JUDGE
                                                                                        Defense Counsel (if   any)      Townsend Myers
                                                                    CASE NO.
          before U S. Magistrate Judge
          regarding this defendanl were
          recorded under
                                                                                                   FPD ECJA ERET'D

Place of
                                                                                                   !    nppointed on Target Letter
               Orleans                                    County
oflense

                                                                                                 This report amends AO 257 previously submitted

         OFFENSE CHARGED - U.S.C. CITATION - STATUTORY MAXIMUM PENALTIES - ADDITIONAL INFORMATION OR COMMENTS

 Total # of       Counts-1-                         (for this defendant onlv)

                              Title & Section/-                                                  Description of Offense Charged                            Count(s)
                           lPeilv =   1   / Misdemeanor = 3 / Felonv = 4)
                                                                                                                                                      ,1

 4              18 USC S 242                                                     Deprivation of Rights Under Color of Law
